
144 P.3d 1024 (2006)
208 Or. App. 335
STATE of Oregon, Respondent,
v.
Marco ANDERSON, aka Marcos Anderson, Appellant.
0405-45256; A126532.
Court of Appeals of Oregon.
September 27, 2006.
Peter Ozanne, Executive Director, Peter Gartlan, Chief Defender, Legal Services Division, and John L. Susac, Deputy Public Defender, Office of Public Defense Services, filed the brief for appellant.
*1025 Hardy Myers, Attorney General, Mary H. Williams, Solicitor General, and Susan G. Howe, Senior Assistant Attorney General, filed the brief for respondent.
Before SCHUMAN, Presiding Judge, and ORTEGA and ROSENBLUM, Judges.
PER CURIAM.
Defendant was convicted of unlawful possession of a firearm and possession of a loaded firearm in a public place. On appeal, he assigns error to the trial court's holding of a bench trial without obtaining a written waiver of defendant's right to be tried by a jury, contrary to Article I, section 11, of the Oregon Constitution and ORS 136.001, both of which expressly require a written waiver. The state concedes the error and we agree and accept the concession.
Defendant also assigns error to the trial court's denial of his motion to suppress evidence obtained after defendant spontaneously told a police officer, who had arrested defendant for driving with a suspended license and without insurance, that he could search defendant's car. We reject that assignment of error without further discussion.
Reversed and remanded.
